948 F.2d 1289
    NOTICE: Sixth Circuit Rule 24(c) states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Sixth Circuit.MISSISSIPPI VALLEY EQUIPMENT COMPANY, a Missouri corporationPlaintiff, Counter-Defendant-Appellee,v.SLURRY SYSTEMS, INC., a Delaware corporation;  Defendant,Counter-Claimant Appellant,The Dow Chemical Company, a Delaware corporation Defendant.
    No. 91-2204.
    United States Court of Appeals, Sixth Circuit.
    Nov. 21, 1991.
    
      Before NATHANIEL R. JONES and MILBURN, Circuit Judges, and ENGEL, Senior Circuit Judge.
    
    ORDER
    
      1
      The defendant is appealing an order granting partial summary judgment for the plaintiff on the defendant's counter-claim for consequential damages in this breach of contract case.   The district court advises that the plaintiff has claims which are still pending in the district court.
    
    
      2
      Under 28 U.S.C. § 1291, courts of appeals have jurisdiction only over final decisions of the district court.   A judgment is final if it leaves nothing remaining for the district court to do except execute final judgment.   Catlin v. United States, 324 U.S. 229, 233 (1945);   Cf. Oak Construction Company v. Huron Cement Company, 475 F.2d 1220, 1221 (6th Cir.1973) (per curiam) (no jurisdiction over interlocutory orders under § 1291).   Absent certification for an interlocutory appeal under 28 U.S.C. § 1292(b) or Rule 54(b), Fed.R.Civ.P., an order disposing of fewer than all parties or claims in an action is nonappealable.   William B. Tanner Co. v. United States, 575 F.2d 101, 102 (6th Cir.1978) (per curiam).   Upon review and consideration the court concludes that the defendant's appeal must be dismissed.
    
    
      3
      It is therefore ORDERED the defendant's appeal is dismissed sua sponte for lack of appellate jurisdiction.   Rule 9(b)(1), Local Rules of the Sixth Circuit.   This order is without prejudice to the defendant's right to perfect a timely appeal upon entry of final judgment in the district court.
    
    